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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION


 SARAH FRANCES DRAYTON, et al.,

                Plaintiffs,                                 CIVIL ACTION NO.: 2:16-cv-53

        v.

 MCINTOSH COUNTY, et al.,

                Defendants.


                              AMENDED SCHEDULING ORDER

       Pursuant to Federal Rule of Civil Procedure 16(b) and the Local Rules of this Court, the

Court issues the following Scheduling Order in this matter. With the parties having filed a joint

motion for extension of time on January 10, 2019, and upon review, the Court GRANTS the

parties’ Joint Motion to Extend Deadline for Deposing Fact Witnesses and Other Discovery

Deadlines. Doc. 190.

       These deadlines shall not be extended except upon a specific showing of good cause and

order of the Court. Fed. R. Civ. P. 16(b)(4). It is the Court’s expectation that the parties will

not need an extension of these deadlines. The showing of good cause necessary to obtain an

extension of any of these deadlines requires a specific showing of what the parties have

accomplished to date in discovery, what remains to be accomplished, and why the parties have

not been able to meet the Court’s deadlines. Bare boilerplate assertions such as “the parties

have diligently pursued discovery to date, but additional time is necessary” will not suffice to

establish good cause.
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        Additionally, should any party seek an extension of these deadlines or seek the extension

of any other deadline in this case (including an extension of a deadline to respond to a motion or

file any other pleading), the party should first contact all other parties and determine if the other

parties join in, consent to, or oppose the request for an extension. When filing the motion for an

extension, the party requesting the extension must state in their motion for an extension whether

the other parties join in, consent to, or oppose the request for an extension.

        The following deadlines shall apply.


DISCOVERY DEPOSITIONS OF WITNESSES WHO
HAVE NOT BEEN DESIGNATED AS EXPERTS                                                      April 26, 2019


POST-FACT-DISCOVERY STATUS REPORT DUE 1                                                  April 29, 2019


POST FACT DISCOVERY STATUS CONFERENCE                                                      May 1, 2019


LAST DAY TO SERVE EXPERT WITNESS REPORTS
BY PLAINTIFF                                                                              May 10, 2019


LAST DAY TO SERVE EXPERT WITNESS REPORTS
BY A DEFENDANT                                                                            June 10, 2019


LAST DAY TO SERVE REBUTTAL EXPERT WITNESS
REPORTS BY A PLAINTIFF                                                                      July 1, 2019


DISCOVERY DEPOSITIONS OF WITNESSES WHO
HAVE BEEN DESIGNATED AS EXPERTS                                                    September 30, 2019




1
        A Status Report Form is available on the Court’s website www.gasd.uscourts.gov under “forms.”
The parties are directed to use the content and format contained in this Form when reporting to the Court.



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LAST DAY FOR FILING ALL CIVIL MOTIONS,
INCLUDING DAUBERT MOTIONS, BUT
EXCLUDING MOTIONS IN LIMINE                                   November 29, 2019



     SO ORDERED, this 18th day of January, 2019.




                               ____________________________________
                               BENJAMIN W. CHEESBRO
                               UNITED STATES MAGISTRATE JUDGE
                               SOUTHERN DISTRICT OF GEORGIA




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